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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

NATIONAL FIRE INSURANCE COMPANY                 )
OF HARTFORD and CONTINENTAL                     )
CASUALTY COMPANY,                               )
                                                )
            Plaintiffs/Counterclaim Defendants, )
                                                )
            v.                                  )         CIVIL ACTION
                                                )         Case No. 10-2532-CM-KMH
LAFAYETTE CITY-PARISH                           )
CONSOLIDATED GOVERNMENT OF                      )
LAFAYETTE, LA. D/B/A LAFAYETTE                  )
UTILITIES SYSTEM                                )
                                                )
            Defendant,                          )
                                                )
            and                                 )
                                                )
NATIONAL CABLE TELEVISION                       )
COOPERATIVE, INC.,                              )
                                                )
            Defendant/Counter-Claimant/         )
            Third-Party Plaintiff,              )
                                                )
            vs.                                 )
                                                )
TRAVELERS CASUALTY & SURETY                     )
COMPANY OF AMERICA,                             )
                                                )
            Third-Party Defendant.              )


     NCTC’S MOTION FOR LEAVE TO FILE ITS FIRST AMENDED ANSWER,
        COUNTERCLAIM, THIRD PARTY CLAIM AND CROSS-CLAIM
                                AND
    MOTION TO STAY BRIEFING OF DEFENDANT LAFAYETTE’S MOTION TO
             DISMISS AND REQUEST FOR BRIEFING SCHEDULE

       COMES NOW Defendant/Counterclaimant/Third-Party Plaintiff National Cable

Television Cooperative, Inc. (“NCTC”), by and through counsel, pursuant to Federal Rules of

Civil Procedure 15(a) and 13(g), and Local Rule 15.1, and moves this Court for an Order:




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          1) granting it leave to file its First Amended Answer, Counterclaim, Third Party Claim

and Cross-Claim (“Motion for Leave”), adding a cross-claim against Defendant Lafayette City-

Parish Consolidated Government of Lafayette, LA d/b/a Lafayette Utilities System

(“Lafayette”) which was not ripe before NCTC’s earlier filing;

          2) granting a stay of briefing on Lafayette’s Motion to Dismiss until the court has set a

briefing schedule; and

          3) setting a consolidated briefing schedule that would allow the parties to litigate

Lafayette’s jurisdictional arguments against plaintiffs’ and NCTC’s claims simultaneously.

          Pursuant to Local Rule 15.1, a copy of NCTC’s proposed First Amended Pleading is

attached hereto as Exhibit A. NCTC submits its Suggestions in Support of this Motion

contemporaneously herewith, and incorporate those Suggestions as though set forth fully

herein.


                                                        Respectfully submitted,
                                                        LATHROP & GAGE LLP


                                                    By: /s/ David T. M. Powell
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                                                       David T.M. Powell KS Bar #16474
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                                                       TELEVISION COOPERATIVE, INC.




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                             CERTIFICATE OF SERVICE
     I hereby certify that a copy of the above and foregoing was served via the Court’s
CM/ECF system on the following counsel of record this 23rd day of December, 2010:

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LAFAYETTE, LA. D/B/A LAFAYETTE UTILITIES SYSTEM

       Additionally, a hardcopy of the above and foregoing will be served with process as
follows:
TRAVELERS CASUALTY & SURETY COMPANY OF AMERICA
SERVE:
Commissioner of Insurance
Kansas Insurance Department
420 SW 9th Street
Topeka, KS 66612

                                    /s/ David T.M. Powell
                                    Attorneys for National Cable Television Cooperative, Inc.


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